Case 8:21-cv-00340-FWS-KES Document 75 Filed 08/11/22 Page 1 of 3 Page ID #:709



   1   HALPERN MAY YBARRA GELBERG LLP
   2      Marc D. Halpern (CA Bar No. 216426)
          Gwendolyn M. Toczko (CA Bar No. 255984)
   3    600 West Broadway, Suite 1060
   4    San Diego, California 92101
        Telephone: (619) 618-7000
   5    marc.halpern@halpernmay.com
   6
            Ryan D. White (CA Bar No. 255201)
   7        Susan P. Welch (CA Bar No. 145952)
   8     550 S. Hope Street, Suite 2330
         Los Angeles, California 90071
   9     Telephone: (213) 402-1900
  10     susan.welch@halpernmay.com
         Attorneys for Plaintiff Emerald Holding, Inc.
  11
  12
                            UNITED STATES DISTRICT COURT
  13
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
  14
  15     EMERALD HOLDING, INC.,                   CASE NO. 8:21-CV-00340 FWS
                                                  (KESx)
  16                Plaintiff,
  17                                              NOTICE OF SETTLEMENT
              v.
  18                                              Judge: Hon. Fred W. Slaughter
  19     LLOYD’S SYNDICATE 1967 and
         GREAT LAKES INSURANCE SE,                Action Filed: February 22, 2021
  20
  21                Defendants.
  22
  23
  24
  25
  26
  27
  28

                                      NOTICE OF SETTLEMENT
Case 8:21-cv-00340-FWS-KES Document 75 Filed 08/11/22 Page 2 of 3 Page ID #:710



   1         Plaintiff Emerald Holding, Inc. and Defendants Lloyd’s Syndicate 1967
   2   and Great Lakes Insurance SE have entered into a binding term sheet for the
   3   resolution of this action in its entirety. The parties have agreed to prepare and
   4   enter into a definitive settlement agreement incorporating the provisions of
   5   the term sheet. The parties anticipate dismissal of this action with prejudice
   6   within 45 days.
   7
   8
        Dated: August 11, 2022              HALPERN MAY YBARRA GELBERG LLP
   9
  10
                                       By /s/ Susan P. Welch
  11                                      Marc D. Halpern
  12                                      Ryan D. White
                                          Susan P. Welch
  13
                                          Attorneys for Plaintiff Emerald Holding, Inc.
  14
  15    Dated: August 11, 2022              GIBSON, DUNN & CRUTCHER LLP
  16
                                      By    /s/ Timothy W. Loose
  17                                        Richard J. Doren
  18                                        Timothy W. Loose
  19                                        Attorneys for Defendants Lloyd’s
                                            Syndicate 1967 (named as W.R. Berkley
  20
                                            Syndicate Limited) and Great Lakes
  21                                        Insurance SE
  22
  23
  24
  25
  26
  27
  28

                                    NOTICE OF SETTLEMENT
                                              1
Case 8:21-cv-00340-FWS-KES Document 75 Filed 08/11/22 Page 3 of 3 Page ID #:711



   1                                 ATTESTATION
   2         Pursuant to Central District of California Civil Local Rule 5-
   3   4.3.4(a)(2)(i), I hereby attest that all other signatories listed above, and on
   4   whose behalf the filing is submitted, concur in the filing’s content and have
   5   authorized the filing.
   6
   7    Dated: August 11, 2022                 By /s/ Susan P. Welch
   8                                                 Susan P. Welch
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                   NOTICE OF SETTLEMENT
                                             2
